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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

     JANE DOE 2 1, JANE DOE 3, JANE DOE 4,             )
     JANE DOE 5, JANE DOE 6, JANE DOE 7,               )
     JOHN DOE 1, JOHN DOE 2, REGAN V.                  )
     KIBBY, and DYLAN KOHERE,                          )        Civil Action No. 17-cv-1597 (CKK)
                                                       )
             Plaintiffs,                               )
                                                       )
                            v.                         )
                                                       )               SECOND AMENDED
     DONALD J. TRUMP, in his official capacity as )                     COMPLAINT FOR
     President of the United States; JAMES N.          )              DECLARATORY AND
     MATTIS, in his official capacity as Secretary of )               INJUNCTIVE RELIEF
     Defense; JOSEPH F. DUNFORD, JR., in his           )
     official capacity as Chairman of the Joint Chiefs )
     of Staff; the UNITED STATES DEPARTMENT )
     OF THE ARMY; MARK T. ESPER, in his                )
     official capacity as Secretary of the Army; the   )
     UNITED STATES DEPARTMENT OF THE                   )
     NAVY; RICHARD V. SPENCER, in his official )
     capacity as Secretary of the Navy; the UNITED )
     STATES DEPARTMENT OF THE AIR                      )
     FORCE; HEATHER A. WILSON, in her                  )
     official capacity as Secretary of the Air Force;  )
     the UNITED STATES COAST GUARD;                    )
     KIRSTJEN M. NIELSEN, in her official              )
     capacity as Secretary of Homeland Security; the )
     DEFENSE HEALTH AGENCY; RAQUEL C.                  )
     BONO, in her official capacity as Director of the )
     Defense Health Agency; and the UNITED             )
     STATES OF AMERICA,                                )
                                                       )
             Defendants.
                                                       )

                                           INTRODUCTION

         1.        This is a constitutional challenge to the ban on military service by transgender

individuals (“transgender military ban” or “ban”). That policy, first announced last July by




 1
         The parties agreed to the dismissal of the claims brought by Jane Doe 1, who is no longer
 in the Armed Forces.


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President Trump and now more specifically set forth in a February 22, 2018 Memorandum for the

President from Secretary of Defense James N. Mattis (“February 22 Memorandum”), excludes

transgender people from military service, regardless of their fitness to serve.

       2.        The transgender military ban, as originally articulated in tweets from the President

and as set forth in the February 22 Memorandum, inflicts immediate, concrete injury upon

Plaintiffs. It violates both the Equal Protection component of the Fifth Amendment and the Due

Process Clause of the Fifth Amendment to the United States Constitution.

       3.        This lawsuit seeks declaratory, preliminary, and permanent injunctive relief

against implementation of the ban.

                                   JURISDICTION AND VENUE

       4.        This court has jurisdiction over the claims under 28 U.S.C. §§ 1331 and 1343.

       5.        Venue is proper in this district under 28 U.S.C. § 1391(b) because the acts

described in this Complaint occurred in this judicial district.

                                             PLAINTIFFS

       6.        Plaintiffs are five active duty servicemembers in the United States military who

serve openly as transgender people; one active duty servicemember who has not yet disclosed her

transgender status; and four transgender people who seek admission to the military, either through

the process of enlistment or through an academic program that leads to a commission. Some

proceed under pseudonyms here to protect their privacy and for fear of retribution.

       7.        Jane Doe 2 has been enlisted in the National Guard since 2003 and has been on

active duty in the United States Army since 2006.

       8.        Jane Doe 2 notified her command that she was transgender after the United States

Department of Defense announced in June 2016 that it would allow transgender servicemembers to

serve openly in the military.


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        9.           In reliance on the Department’s promise to allow transgender servicemembers to

serve openly, Jane Doe 2 began to seek medical treatment relating to her gender transition in

September 2016.

        10.          Since informing her command that she is transgender, Jane Doe 2 has continued

serving in her post without incident.

        11.          Jane Doe 2’s current contract with the military extends through November 2018.

Under the transgender military ban, she will be forced to serve under a cloud of uncertainty about

continued service, promotions, and health care; and she will suffer harm because her continued

service will be permitted only under a conditional and limited exception to a policy that deems

transgender people unfit for service.

        12.          Jane Doe 3 has served in the United States Army since 2015. She has previously

been deployed to Afghanistan and is currently deployed to Iraq.

        13.          In or around June 2016, in reliance on the Department of Defense policy

permitting transgender people to serve openly in the military, Jane Doe 3 notified her command

that she was transgender. Since then, she has continued serving in her post without incident.

        14.          Jane Doe 3’s current contract with the military extends through December 2018.

She plans to renew her contract and is also interested in applying to become a warrant officer or

making other career transitions that could be considered a new accession to the Army. Under the

transgender military ban, it is unclear whether Jane Doe 3 will be able to make these career

transitions. At a minimum, she will be forced to serve under a cloud of uncertainty about

continued service and health care; and she will suffer harm because her continued service will be

permitted only under a conditional and limited exception to a policy that deems transgender people

unfit for service.




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       15.       Jane Doe 4 has served in the United States Army since 2000.

       16.       In or around June 2016, in reliance on the Department of Defense policy

permitting transgender people to serve openly in the military, Jane Doe 4 met with her

commanding officer to identify herself as transgender. She began receiving medical treatment

related to her gender transition in September 2016.

       17.       Since coming out as transgender, Jane Doe 4 has continued serving in her post

without incident.

       18.       Jane Doe 4’s current contract with the military extends through June 2018. She

plans to renew her contract to complete two additional years of service following the expiration of

her current contract so that she can reach twenty years of service and receive retirement benefits.

Under the transgender military ban, Jane Doe 4 will be forced to serve under a cloud of uncertainty

about continued service, promotions, and health care; and she will suffer harm because her

continued service will be permitted only under a conditional and limited exception to a policy that

deems transgender people unfit for service.

       19.       Jane Doe 5 has been an active duty member of the United States Air Force for

nearly twenty years, serving multiple tours of duty abroad, including two in Iraq.

       20.       After June 2016, in reliance on the announcement that transgender people would

be permitted to serve openly, she notified her superiors that she was transgender. Since she made

this disclosure, she has continued to serve without incident.

       21.       Under the transgender military ban, Jane Doe 5 will be forced to serve under a

cloud of uncertainty about continued service, promotions, and health care; and she will suffer harm

because her continued service will be permitted only under a conditional and limited exception to a

policy that deems transgender people unfit for service.




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       22.       Jane Doe 6 joined the Army in 2014. She has received hundreds of hours of

specialized training, above the basic training required for her position, in joint target development,

joint battle assessment, unmanned aerial surveillance, and computer science.

       23.       Jane Doe 6 is transgender. She had made a behavioral health appointment to

obtain a transition plan and begin her gender transition when President Trump tweeted his

announcement that transgender people were no longer permitted to serve. As a result, Jane Doe 6

never came out to her doctors or chain of command as transgender.

       24.       Under the transgender military ban, if Jane Doe 6 notifies her command that she

is transgender and seeks health care for the distress she experiences from having to serve in a

manner inconsistent with her gender identity, she faces separation from the military. Separation

would have serious consequences for Jane Doe 6. She would be ineligible for a military pension

and other benefits upon which she relies. A separation would also have serious negative

repercussions for her career and livelihood. In addition, the transgender military ban causes Jane

Doe 6 the immediate harms of curtailing her access to health care and forcing her to live

inconsistently with her gender identity to avoid separation from the military.

       25.       Jane Doe 7 is a transgender woman who was seeking to join the Coast Guard

when the Trump administration announced its implementation plan banning service by transgender

people on March 23, 2018. Jane Doe 7 went through the process of gender transition seven years

ago.

       26.       Under the transgender military ban, Jane Doe 7 will be unable to join the Coast

Guard. She will be deprived of the opportunity to serve her country and the many benefits that

enlistment in the Coast Guard would afford her.




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       27.       John Doe 1 was a Reserve Officers’ Training Corps (“ROTC”) cadet from 2014

to 2016 and has served as a Second Lieutenant in the United States Army since July 2016.

       28.       John Doe 1 advised his superiors in ROTC that he is transgender. He was

commissioned as a Second Lieutenant shortly after the Department of Defense announced that

transgender people would be permitted to serve openly. In reliance on that policy, John Doe 1

notified his command that he was transgender. John Doe 1 has served since that time and has been

praised for his commitment to excellence.

       29.       After the President’s tweets, John Doe 1’s transition-related care was subject to

prolonged delays and substantial disruption. He did, however, undergo transition-related surgery

in January 2018 and is currently ready to be deployed. His unit is now on standby to deploy to

PACOM (Pacific Command) and is scheduled for deployment to CENTCOM (Central Command)

next spring.

       30.       Under the transgender military ban, John Doe 1 will be forced to serve under a

cloud of uncertainty about continued service and health care; and he will suffer harm because his

continued service will be permitted only under a conditional and limited exception to a policy that

deems transgender people unfit for service.

       31.       John Doe 2 is a transgender man who was in the process of enlisting in the Army

when the Trump administration announced its implementation plan banning service by transgender

people on March 23, 2018, specifically prohibiting enlistment for anyone who has undergone

gender transition. John Doe 2 went through the process of gender transition almost a decade ago.

He disclosed his transgender status to the recruiter when he began the enlistment process.




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       32.       Under the transgender military ban, John Doe 2 will be unable to join the Army.

He will be deprived of the opportunity to serve his country, including the financial and career

benefits that enlistment in the Army will afford him.

       33.       Regan V. Kibby is a midshipman at the United States Naval Academy. In

reliance on the policy permitting transgender people to serve openly, he told the Naval Academy

that he is transgender. He was approved for a medical leave of absence so that his transition would

be complete in time for him to receive his commission in the U.S. Navy upon graduation.

       34.       Under the transgender military ban, it is unclear whether Plaintiff Kibby will be

permitted to return to the Naval Academy or to join the U.S. Navy as a commissioned officer. If

he is permitted to return to the Naval Academy and join the U.S. Navy as a commissioned officer,

he will be forced to serve under a cloud of uncertainty about continued service and health care; and

he will suffer harm because his service will be permitted only under a conditional and limited

exception to a policy that deems transgender people unfit for service.

       35.       Dylan Kohere is a first-year college student who is taking academic ROTC

classes at the university he attends. He is also transgender. After President Trump’s

announcement of a ban on transgender people serving in the military, he was barred from joining

the ROTC Program, including being denied the ability to partake in physical training or ROTC

labs. While Plaintiff Kohere has continued to take ROTC academic classes, he never enrolled in

the ROTC Program because of the ban.

       36.       Under the transgender military ban, Plaintiff Kohere is barred from enlisting in

the military and, as a result, is not permitted to enroll in the ROTC program or to receive an ROTC

scholarship.




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                                            DEFENDANTS

        37.      Defendant Donald J. Trump is President of the United States and Commander in

Chief of the Armed Forces. On July 26, 2017, President Trump stated on Twitter that transgender

people would not be permitted to serve “in any capacity in the U.S. military.”

        38.      Defendant James N. Mattis is the United States Secretary of Defense and the

leader of the Department of Defense. Pursuant to a directive issued by President Trump on August

25, 2017, Secretary Mattis led an effort to develop a plan to implement the President’s ban. He

transmitted that plan to the President in February 2017, and it was released to the public on March

23, 2018.

        39.      Defendant Joseph F. Dunford, Jr. is a United States Marine Corps General and

serves as the current Chairman of the Joint Chiefs of Staff.

        40.      Defendant Department of the Army is one of three military departments of the

Department of Defense and is responsible for the administration and operation of the United States

Army.

        41.      Defendant Mark T. Esper is the United States Secretary of the Army. He is the

leader of the Department of the Army.

        42.      Defendant Department of the Navy is one of three military departments of the

Department of Defense and is responsible for the administration and operation of the United States

Navy.

        43.      Defendant Richard V. Spencer is the United States Secretary of the Navy. He is

the leader of the Department of the Navy.

        44.      Defendant Department of the Air Force is one of three military departments of the

Department of Defense and is responsible for the administration and operation of the United States

Air Force.


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         45.     Defendant Heather A. Wilson is the United States Secretary of the Air Force. She

is the leader of the Department of the Air Force.

         46.     Defendant United States Coast Guard is one of the five branches of the United

States Armed Forces.

         47.     Defendant Kirstjen M. Nielsen is the United States Secretary of Homeland

Security. She is the leader of the Department of Homeland Security. The Department of

Homeland Security is responsible for the administration and operation of the United States Coast

Guard.

         48.     Defendant Defense Health Agency is a Combat Support Agency that administers

health care services for the U.S Army, U.S. Navy, and U.S. Air Force. The Defense Health

Agency exercises management responsibility for the TRICARE Health Plan, which is the health

care program for all uniformed servicemembers in the U.S. Army, U.S. Navy, U.S. Air Force, U.S.

Coast Guard, and certain other commissioned corps.

         49.     Defendant Raquel C. Bono is a Vice Admiral and serves as Director of the

Defense Health Agency.

         50.     Defendant United States of America includes all federal government agencies and

departments responsible for the implementation of the President’s decision.

         51.     All of the Defendants are sued in their official capacities.

                                     STATEMENT OF FACTS

 Adoption and Implementation of Open Service Policy

         52.     In May 2014, then-Secretary of Defense Chuck Hagel, a decorated U.S. Army

combat veteran, recommended that the military conduct a review of whether transgender people

should be permitted to serve openly in the Armed Forces.




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       53.       In August 2014, the Department of Defense issued a new regulation that

eliminated its categorical ban on open service by transgender people and instructed each branch of

the Armed Forces to reassess whether maintaining a service-wide ban on service by openly

transgender persons was justified. See Department of Defense Instruction 1332.18.

       54.       Secretary Hagel explained that “[e]very qualified American who wants to serve

our country should have an opportunity to do so if they fit the qualifications and can do it.”

       55.       Secretary Hagel was succeeded as Secretary of Defense by Ashton B. Carter, who

had previously served many years within the Department, including as Deputy Secretary of

Defense, Under Secretary of Defense for Acquisition, Technology and Logistics, Assistant

Secretary of Defense for International Security Policy, and as a member of the Defense Policy

Board and the Defense Science Board. In July 2015, Secretary Carter announced that the military

would begin a comprehensive analysis of whether to maintain the prohibition on military service

by transgender people.

       56.       In an order establishing a working group to carry out this analysis, made effective

as of July 13, 2015, Secretary Carter directed that no servicemember could be involuntarily

separated or denied reenlistment or continuation of active or reserve status on the basis of his or

her gender identity without the approval of the Under Secretary of Defense for Personnel and

Readiness.

       57.       Over the course of a year, Secretary Carter oversaw a comprehensive review of

this issue by a working group of the military and civilian leadership of the Armed Services, the

Joint Chiefs of Staff, the service secretaries, and personnel, training, readiness, and medical

specialists from across the Department of Defense.




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       58.       That year-long process examined copious data on the relevant issues, including

but not limited to existing studies and research and input from transgender servicemembers and

their commanders, outside expert groups, and medical professionals.

       59.       The process also included a careful review of the eighteen other countries that

permit military service by openly transgender people.

       60.       The process also included consultation with doctors, employers, and insurance

companies regarding the provision of medical care to transgender people.

       61.       The Department of Defense also commissioned the RAND Corporation, an

organization formed after World War II to connect military planning with research and

development decisions and which now operates as an independent think tank financed by the U.S.

government, to analyze relevant data and studies to determine the impact of permitting transgender

servicemembers to serve openly. Specifically, the RAND Corporation was tasked with (1)

identifying the health care needs of the transgender population and the health care costs associated

with providing transition-related care; (2) assessing the readiness implications of allowing

transgender servicemembers to serve openly; and (3) reviewing the experiences of foreign

militaries that permit transgender individuals to serve openly.

       62.       The study, titled “Assessing the Implications of Allowing Transgender Personnel

to Serve Openly” (the “RAND Study”) and issued in May 2016, concluded that allowing

transgender people to serve openly would “cost little and have no significant impact on unit

readiness.”

       63.       The RAND Study noted that the Military Health System already provides the

types of health care required by transgender servicemembers and concluded that health care costs

for transgender servicemembers would represent “an exceedingly small proportion of [the




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Department of Defense’s] overall health care expenditures.” The RAND Study also concluded

that this minimal incremental cost would likely be offset by savings through diminished rates of

other health care costs that would be achieved by providing servicemembers with necessary

transition-related medical care.

       64.       Based on the results of this comprehensive, year-long review process and on the

RAND Study, the Department of Defense concluded that the needs of the military would be best

met by permitting openly transgender people to serve.

       65.       As laid out by Secretary Carter in remarks delivered on June 30, 2016, that

conclusion was based on a number of considerations, including: the need to “recruit[] and retain[]

the soldier, sailor, airman, or Marine who can best accomplish the mission” of our nation’s Armed

Forces; the fact that thousands of “talented and trained” transgender people are already serving and

that the military has already invested “hundreds of thousands of dollars to train and develop each”

transgender servicemember; the benefits to the military of retaining individuals who are already

trained and who have already proven themselves; the need to provide both transgender

servicemembers and their commanders with “clear[] and consistent guidance” on questions such as

deployment and medical treatment; and the principle that “Americans who want to serve and can

meet our standards should be afforded the opportunity to compete to do so.”

       66.       On June 30, 2016, Secretary Carter announced that “[e]ffective immediately,

transgender Americans may serve openly. They can no longer be discharged or otherwise

separated from the military just for being transgender.”

       67.       Also on June 30, 2016, Secretary Carter issued Directive-Type Memorandum 16-

005, titled “Military Service of Transgender Service Members.” It states: “The policy of the

Department of Defense is that service in the United States military should be open to all who can




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meet the rigorous standards for military service and readiness. Consistent with the policies and

procedures set forth in this memorandum, transgender individuals shall be allowed to serve in the

military. These policies and procedures are premised on my conclusion that open service by

transgender Service members while being subject to the same standards and procedures as other

members with regard to their medical fitness for duty, physical fitness, uniform and grooming,

deployability, and retention, is consistent with military readiness and with strength through

diversity.”

        68.      The year-long review process by the Department of Defense also concluded that

openly transgender people should be permitted to accede to the military so long as they had

completed all medical treatment associated with their transitions and had been stable in their

gender for eighteen months. The accession policy was scheduled to take effect on July 1, 2017 to

allow the branches of the Armed Forces additional time to develop necessary standards and

policies.

        69.      In September 2016, the Department of Defense issued an implementation

handbook entitled “Transgender Service in the United States Military.” The 71-page document set

forth guidance and instructions to both military servicemembers and commanders about how to

implement and understand the new policies enabling open service of transgender servicemembers.

        70.      On October 1, 2016, the Office of the Undersecretary of Defense for Personnel

and Readiness issued “DoD Instruction 1300.28—In-Service Transition for Transgender Service

Members.” The instruction set forth further guidance to ensure open service by transgender

servicemembers, including details regarding revisions to medical treatment provisions. This

instruction was further implemented by a memorandum issued by the Acting Assistant Secretary of

Defense for Health Affairs entitled “Guidance for Treatment of Gender Dysphoria for Active and




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Reserve Component Service Members.” The Department of Defense also issued medical guidance

for providing transition-related care to transgender servicemembers.

       71.       Over the next nine months, between October 2016 and June 2017, the services

conducted training of the force based on detailed guidance and training materials regarding the

policy change.

       72.       On November 29, 2016, the Department of Defense revised “DoD Directive

1020.02E—Diversity Management and Equal Opportunity in the DoD” to prohibit discrimination

and harassment on the basis of gender identity.

 The Ban on Transgender Servicemembers

       73.       On June 30, 2017, the day before the policy permitting transgender people to

accede to the military was to take effect, Secretary Mattis extended the period for the development

of relevant standards by six months.

       74.       Early in the morning of July 26, 2017, without any prior indication that he would

address military transgender policy, President Trump announced in a series of tweets that the

military would no longer permit the service of transgender Americans.

       75.       His tweets read: “After consultation with my generals and military experts, please

be advised that the United States government will not accept or allow transgender individuals to

serve in any capacity in the U.S. military. Our military must be focused on decisive and

overwhelming victory and cannot be burdened with the tremendous medical costs and disruption

that transgender in the military would entail.”

       76.       This announcement met with substantial criticism from members of Congress

belonging to both political parties. These critics included Senator John McCain, Chairman of the

Senate Armed Services Committee and a decorated combat veteran of the Navy, who said in a



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statement that “there is no reason to force servicemembers who are able to fight, train, and deploy

to leave the military—regardless of their gender identity.” Senator Joni Ernst, another Republican

member of the Senate Armed Services Committee and a combat veteran who served in the Iowa

National Guard, also publicly expressed opposition to the new policy.

       77.        Upon information and belief, the President did not consult either the Joint Chiefs

of Staff or the Department of Defense before making his announcement. General Joseph Dunford,

the Chairman of the Joint Chiefs of Staff and the President’s most senior uniformed military

advisor, wrote to the Joint Chiefs that the President’s announcement was “unexpected” and that

that he “was not consulted.”

       78.        Shortly after the announcement, fifty-six former generals and admirals issued a

public statement denouncing the new policy. Commandant Admiral Paul Zukunft of the United

States Coast Guard also criticized the proposed policy and expressly reached out to all openly

transgender members of the Coast Guard, vowing not to “turn [his] back” on transgender

servicemembers.

       79.        On August 25, 2017, the President released a memorandum (“August 25

Memorandum”) containing a formal directive to the Secretary of Defense and the Secretary of

Homeland Security. It required the military to return to its pre-June 2016 policy forbidding

transgender people from joining or serving in the military, effective March 23, 2018.

       80.        The August 25 Memorandum also required the ban on accessions to be extended

indefinitely beyond January 1, 2018; halted all use of government resources to “fund

sex-reassignment surgical procedures for military personnel, except to the extent necessary to

protect the health of an individual who has already begun a course of treatment to reassign his or

her sex,” effective March 23, 2018; and required the Secretary of Defense, in consultation with




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Homeland Security, to “submit to [the President] a plan for implementing” the ban within six

months.

       81.       On September 14, 2017, Secretary of Defense Mattis issued a Memorandum

directing the implementation process. Secretary Mattis affirmed that “DoD will carry out the

President’s policy and directives” and will “comply with” the President’s August 25 directive.

Secretary Mattis directed the Department of Defense to “develop[] an Implementation Plan on

military service by transgender individuals, to effect the policy and directives” issued by President

Trump on August 25. Secretary Mattis also indicated that the implementation plan would be

released within the six months prescribed by the President.

       82.       In a separate Memorandum entitled “Terms of Reference – Implementation of

Presidential Memorandum on Military Service by Transgender Individuals” (“Terms of

Reference”), also issued on September 14, 2017, Secretary Mattis “direct[ed] the Deputy Secretary

of Defense and the Vice Chairman of the Joint Chiefs of Staff to lead the [Department] in

developing an Implementation Plan on military service by transgender individuals, to effect the

policy and directives in Presidential Memorandum, Military Service by Transgender Individuals,

dated August 25, 2017.” The Terms of Reference required that, in carrying out the duties

delegated to them, the Deputy Secretary and Vice Chairman would be “supported by a panel of

experts,” comprised of “the Military Department Under Secretaries, Service Vice Chiefs, and

Service Senior Enlisted Advisors” and chaired by the Under Secretary of Defense for Personnel

and Readiness.

       83.       The panel was tasked with developing a plan to implement the President’s policy

as announced in his tweets and promulgated to the Department of Defense in his August 25

Memorandum. The Terms of Reference explained that “[t]he Presidential Memorandum directs




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that the Department return to the longstanding policy and practice on military service by

transgender individuals that was in place prior to June 2016” and “also allows the Secretary to

determine how to address transgender individuals currently serving in the Armed Forces.” It

directed the Panel to “set forth, in a single policy document, the standards and procedures

applicable to military service by transgender persons, with specific attention to addressing

transgender persons currently serving.” The Terms of Reference also explained that “[t]he

Presidential Memorandum directs DoD to maintain the policy currently in effect, which generally

prohibits accession of transgender individuals into military service.”

       84.       On October 30, 2017, this Court issued a preliminary injunction that, among other

things, ordered Defendants to “revert to the status quo with regard to accession and retention that

existed before the [August 25, 2017] issuance of the Presidential Memorandum.” Pursuant to that

order, the Armed Forces began permitting openly transgender people to accede to the service

beginning on January 1, 2018.

       85.       On February 22, 2018, Secretary Mattis sent a Memorandum to the President

endorsing policies set out in an attached report entitled “Department of Defense Report and

Recommendations on Military Service by Transgender Persons.” The February 22 Memorandum

and its attachment were released to the public on March 23, 2018. The policy set forth in the

February 22 Memorandum and its attachment expressly targets transgender individuals; they do

not apply to non-transgender individuals at all.

       86.       The policy prevents any transgender individual from serving consistent with their

gender identity, including by excluding anyone who “require[s] or ha[s] undergone gender

transition” and by requiring proof that applicants are “stable … in their biological sex.”




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       87.       The policy also includes a limited and conditional provision permitting continued

service by servicemembers “who were diagnosed with gender dysphoria by a military medical

provider” during the period when open service by transgender servicemembers was allowed. The

policy also states that “should its decision to exempt these Service members be used by a court as a

basis for invalidating the entire policy, this exemption instead is and should be deemed severable

from the rest of the policy.”

       88.       In addition, although the provision permitting continued service by some small

number of transgender servicemembers states that they will “continue to receive all medically

necessary treatment,” the substance of what may be provided may fall short of servicemembers’

actual medical needs. The policy set forth in the February 22 Memorandum and its attachment

rejects the established medical consensus confirming the safety and efficacy of gender-transition

related medical care and instead concludes that the available scientific evidence is “unclear.” As a

result, transgender servicemembers who remain in provisional and conditional service face the

likely denial of surgical and other care for transgender health needs.

       89.       The American Psychological Association responded to the February 22

Memorandum and its attachment, stating that it was “alarmed by the administration’s misuse of

psychological science to stigmatize transgender Americans and justify limiting their ability to

serve in uniform and access medically necessary health care.” The American Medical Association

also responded in a statement saying that “there is no medically valid reason—including a

diagnosis of gender dysphoria—to exclude transgender individuals from military service” and

denouncing the Memorandum because it “mischaracterized and rejected the wide body of peer-

reviewed research on the effectiveness of transgender medical care.” And the American




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Psychiatric Association released a statement confirming that transgender people “suffer no

impairment whatsoever in their judgment or ability to work.”

                                                COUNT I

                               (Fifth Amendment – Equal Protection)

       90.       All previous paragraphs are incorporated as though fully set forth herein.

       91.       The Due Process Clause of the Fifth Amendment prohibits the federal

government from denying equal protection of the laws.

       92.       The policies excluding transgender people from military service discriminate

against Plaintiffs based on their sex and transgender status, without lawful justification, in

violation of the Equal Protection component of the Due Process Clause of the Fifth Amendment.

       93.       The exclusion of transgender people from military service lacks a rational basis, is

arbitrary, and cannot be justified by sufficient federal interests.

       94.       Through the actions above, Defendants have violated the Equal Protection

component of the Due Process Clause of the Fifth Amendment.

                                               COUNT II 2
                                  (Fifth Amendment – Due Process)
       95.       All previous paragraphs are incorporated as though fully set forth herein.

       96.       The Due Process Clause of the Fifth Amendment requires, at a minimum, that

government action have some rational basis.

       97.       The policies excluding transgender people from military service are arbitrary and

capricious and lack any rational basis.




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        The Court has dismissed Count III. Plaintiffs reserve all rights to appeal that dismissal
 but do not repeat the Count here.


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       98.       Defendants’ 2016 policy permitting transgender people to serve openly in the

military, together with Plaintiffs’ reliance on that policy in notifying their superiors of their

transgender status, created a protected interest in Plaintiffs’ ability to continue serving in the

military as openly transgender servicemembers.

       99.       Defendants’ arbitrary reversal of the United States’ June 2016 policy threatens to

exclude Plaintiffs from continued military service because they are transgender, thus depriving

Plaintiffs of those interests without due process of law.

       100.      Defendants’ arbitrary reversal of the United States’ June 2016 policy also

impermissibly selectively burdens Plaintiffs’ fundamental rights to autonomy and privacy.

       101.      Through the actions above, Defendants have violated the Due Process Clause of

the Fifth Amendment.

                                       PRAYER FOR RELIEF

         Plaintiffs ask the Court to grant the following relief:

       1.        Issue a declaratory judgment that the President’s directive to categorically exclude

transgender people from military service is unconstitutional;

       2.        Issue a preliminary and permanent injunction, against all Defendants other than

President Trump, prohibiting the categorical exclusion of transgender people from military service,

including ordering that:

                 a.     Defendants shall revert to the status quo with regard to
                 accession and retention that existed before the August 25, 2017
                 issuance of the Presidential Memorandum.

                 b.      Plaintiffs Jane Doe 2, Jane Doe 3, Jane Doe 4, Jane Doe 5,
                 Jane Doe 6, and John Doe 1 may not be separated from the
                 military, denied reenlistment, demoted, denied promotion, denied
                 medically necessary treatment on a timely basis, or otherwise
                 receive adverse treatment or differential terms of service on the
                 basis that they are transgender;



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          c.      Plaintiff Regan V. Kibby may not be denied the
          opportunity to continue his attendance at the U.S. Naval Academy
          on the basis that he is transgender, and may not be denied the
          opportunity to accede to military service thereafter, or be denied
          promotion, reenlistment, or any other equal terms of service on the
          basis that he is transgender;

          d.      Plaintiff Dylan Kohere may not be denied the opportunity
          to fully enroll and participate in the Reserve Officers’ Training
          Corps program on the basis that he is transgender, and may not be
          denied the opportunity to accede to military service thereafter, or
          be denied promotion, reenlistment, or any other equal terms of
          service on the basis that he is transgender; and

          e.     Plaintiffs Jane Doe 7 and John Doe 2 may not be denied the
          opportunity to accede to military service on the basis that they are
          transgender, and may not be denied promotion, reenlistment, or
          any other equal terms of service on the basis that they are
          transgender.

3.        Award Plaintiffs their reasonable costs and attorneys’ fees;

4.        Issue any other relief the Court deems appropriate.




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April 6, 2018                            Respectfully submitted,

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